Case 8:11-cr-00553-VMC-AEP Document 425 Filed 07/17/13 Page 1 of 3 PageID 1097




                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

    UNITED STATES OF AMERICA

    v.                                     Case No. 8:11-cr-553-T-33AEP

    ALISHA MARIE HUMPHREY
    __________________________________/

                                    ORDER

         Now before the Court is Defendant Alisha Humphrey’s

    Motion to Modify Sentence (Doc. # 419), filed July 5, 2013.

    The Government responded in opposition to the motion on

    July 16, 2013. (Doc. # 424). After due consideration and

    for the reasons stated below, the Court denies the motion.

    Discussion

         On May 18, 2012, before United States Magistrate Judge

    Anthony E. Porcelli, Humphrey entered a plea of guilty to

    Count    I   of   the     Indictment.1     (Doc.   ##   222,     229).

    Subsequently,     Judge     Porcelli     issued    a    Report    and

    Recommendation in which he recommended that the plea of

    guilty be accepted, that the defendant be adjudged guilty,

    and that sentence be imposed accordingly. (Doc. # 231).            On

    June 1, 2012, the Court adopted Judge Porcelli’s Report and
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       Count I of the Indictment alleges conspiracy “to possess
    with the intent to distribute and to distribute a quantity
    of a mixture and substance containing a detectable amount
    of Oxycodone . . . .” (Doc. # 1 at 2).
Case 8:11-cr-00553-VMC-AEP Document 425 Filed 07/17/13 Page 2 of 3 PageID 1098




    Recommendation and adjudged Humphrey guilty as to Count I

    of the Indictment. (Doc. # 270).

           Humphrey          filed     a   Motion        for       Variance       Below      the

    Advisory Guideline Range (Doc. # 363), which made several

    requests including that the Court “[o]rder that [Humphrey]

    receive credit for her Federal sentence concurrent with the

    balance of her State sentence . . . .” (Id. at 11). The

    Court conducted a sentencing hearing on October 22, 2012.

    (Doc.    #   369).        After    considering        all       of    the    information

    presented,      the       Court    determined         that      the    request       for   a

    concurrent sentence should be denied and that the term of

    imprisonment            imposed   by    the       Court’s      judgment       should     run

    consecutively to the term of imprisonment imposed against

    Humphrey       by       the   Pasco    County      Circuit       Court       in    February

    2012. (Id.). The two crimes – conspiracy to possess with

    intent to distribute Oxycodone and felonious possession of

    a     firearm       –    are     unrelated        offences       carrying          separate

    penalties       and       the     Court   determined            that     a    concurrent

    sentence was not appropriate.

           Humphrey now moves the Court to modify her sentence

    and to “allow her federal sentence to run concurrent with

    her    state    prison         sentence.”         (Doc.    #   419     at    1).    In   its

    response to the instant motion, the Government states that


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Case 8:11-cr-00553-VMC-AEP Document 425 Filed 07/17/13 Page 3 of 3 PageID 1099




    it has “no new information to provide to the Court that

    would impact [the Court’s decision that the sentences run

    consecutively] or that supports the defendant’s request.”

    (Doc. # 424 at 1-2). Likewise, the Court has been presented

    with no new information that inclines the Court to modify

    the sentence it has already imposed.

         Accordingly, it is

         ORDERED, ADJUDGED, and DECREED:

         Defendant Alisha Humphrey’s Motion to Modify Sentence

    (Doc. # 419) is DENIED.

         DONE and ORDERED in Chambers, in Tampa, Florida, this

    17th day of July, 2013.




    Copies:   All Parties and Counsel of Record




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